                                         Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 1 of 11




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                             NORTHERN DISTRICT OF CALIFORNIA

                                   6                                         SAN JOSE DIVISION

                                   7

                                   8     JESSE HERNANDEZ, et al.,                           Case No. 13-cv-02354-BLF
                                   9                    Plaintiffs,
                                                                                            ORDER VACATING HEARING ON
                                  10             v.                                         PLAINTIFFS’ MOTION FOR
                                                                                            ATTORNEYS’ FEES AND EXPENSES;
                                  11     COUNTY OF MONTEREY, et al.,                        AND GRANTING MOTION
                                  12                    Defendants.                         [ECF 640]
Northern District of California
 United States District Court




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                                  14          Plaintiffs move for an award of $150,000 in attorneys’ fees and expenses for the period
                                  15   May 27, 2017 through May 26, 2018. The motion, which has been fully briefed, is appropriate for
                                  16   disposition without oral argument. See Civ. L.R. 7-1(b). The Court VACATES the May 16, 2016
                                  17   hearing. The motion is GRANTED for the reasons discussed below.
                                  18    I.    BACKGROUND
                                  19          This class action was filed in May 2013 on behalf of inmates housed at the Monterey
                                  20   County Jail (“Jail”), challenging the medical care, mental health care, safety, and disability access
                                  21   provided at the Jail. Compl., ECF 1. After substantial discovery, motion practice, and issuance of
                                  22   a preliminary injunction, the parties entered into a Settlement Agreement which required changes
                                  23   to Jail policies and practices. Settlement Agreement, Exh. A to Swearingen Decl., ECF 640-1.
                                  24   Magistrate Judge Paul S. Grewal, then assigned to the case, granted final approval of the class
                                  25   action settlement in an order issued August 18, 2015. Final Approval Order, ECF 494.
                                  26          Among other things, the Settlement Agreement required Defendants to develop
                                  27   implementation plans in specific subject areas “for improvement of care, services, programs, and
                                  28   activities at the Jail.” Settlement Agreement ¶ 31. Defendants County of Monterey (“County”)
                                         Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 2 of 11




                                   1   and California Forensic Medical Group (“CFMG”) submitted proposed implementation plans. See

                                   2   County Implementation Plan, Exh. A to County’s Motion for Approval, ECF 514; CFMG

                                   3   Implementation Plan, Exh. A to CFMG’s Motion for Approval, ECF 532. Judge Grewal approved

                                   4   those plans in large part, although he required some modifications. Order Granting-In-Part

                                   5   Defendants’ Motions for Approval of Implementation Plans, ECF 549. For example, while he

                                   6   found no fault with CFMG’s proposal that a psychiatrist be employed on-site at the Jail forty

                                   7   hours per week, Judge Grewal found that the proposed implementation plans did not adequately

                                   8   address standards for use of telepsychiatry. Id. He ordered that “Defendants’ implementation

                                   9   plans must have standards for when they can deviate from a typical in-person encounter and use

                                  10   telemedicine or telepsychiatry.” Id. at 3.

                                  11          The Settlement Agreement contemplates that Plaintiffs may incur fees and expenses in

                                  12   monitoring and enforcing Defendants’ compliance. Under Paragraph 63 of the Settlement
Northern District of California
 United States District Court




                                  13   Agreement, Plaintiffs may petition the Court for: (a) no more than $250,000 per year in fees and

                                  14   expenses arising from monitoring work, inspections of the Jail, meet-and-confer, and the like, and

                                  15   (b) no more than $150,000 per year in fees and expenses arising from motions to enforce the

                                  16   Settlement Agreement. Settlement Agreement ¶ 63. The parties agree that for purposes of these

                                  17   provisions, the first monitoring year ran from May 27, 2016 through May 26, 2017. The second

                                  18   monitoring year – the year at issue here – ran from May 27, 2017 through May 26, 2018.

                                  19          On July 17, 2017, Plaintiffs filed a motion to enforce the Settlement Agreement, asserting

                                  20   that: (a) CFMG had not complied with its staffing obligations under the Settlement Agreement;

                                  21   (b) CFMG’s proposed Telepsychiatry Policy did not contain the standards required by Judge

                                  22   Grewal’s order; and (c) the County had denied Class Counsel and court-appointed monitors access

                                  23   to inmates’ records of treatment at Natividad Medical Center (“Natividad”) which were necessary

                                  24   to confirm Defendants’ compliance with the Settlement Agreement and related court orders.

                                  25   Motion to Enforce, ECF 599. The Court heard the motion on September 20, 2017. See Minute

                                  26   Entry, ECF 613. A number of issues were resolved on the record, and the Court indicated that it

                                  27   would refer certain outstanding issues to Magistrate Judge Cousins for resolution. Hrg. Tr., ECF

                                  28   618.
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                                         Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 3 of 11




                                   1          The Court issued a written order on November 1, 2017. Order Granting in Part and

                                   2   Denying in Part Plaintiffs’ Motion to Enforce Settlement Agreement, ECF 619. The Court found

                                   3   that “as of the filing of Plaintiffs’ motion to enforce, CFMG was not in compliance with its

                                   4   obligation to employ a psychiatrist on-site at the Jail for forty hours per week.” Id. at 2. The

                                   5   Court noted that after the motion to enforce was filed, CFMG hired Dr. Paul Francisco to work as

                                   6   a full-time on-site psychiatrist. Id. at 3. The Court accepted the oral representations of CFMG’s

                                   7   counsel that there were substitute psychiatrists available to cover any absences of Dr. Francisco.

                                   8   Id. Thus, the Court concluded that the portions of the motion to enforce directed to CFMG’s

                                   9   staffing obligations were moot. Id.

                                  10          The Court observed that the parties had “agreed to work together” and had “reached

                                  11   tentative agreement” on the bulk of the telepsychiatry issues. Order Granting in Part and Denying

                                  12   in Part Plaintiffs’ Motion to Enforce Settlement Agreement at 5, ECF 619. The Court referred the
Northern District of California
 United States District Court




                                  13   remaining telepsychiatry issues to Judge Cousins. Id. The proceedings before Judge Cousins

                                  14   resulted in stipulated resolution of the remaining telepsychiatry issues. Stipulation and Order

                                  15   Regarding Telepsychiatry, ECF 622; Second Stipulation and Order Regarding Telepsychiatry

                                  16   Issues, ECF 633.

                                  17          Finally, the Court granted the requested access in inmates’ Natividad medical records

                                  18   “subject to Plaintiffs’ submission of particularized requests to the Court by means of stipulation

                                  19   and proposed order or administrative motion.” Order Granting in Part and Denying in Part

                                  20   Plaintiffs’ Motion to Enforce Settlement Agreement at 8, ECF 619.

                                  21          Plaintiffs now seek attorneys’ fees and expenses incurred in litigating the issues described

                                  22   above. Plaintiffs claim that they incurred $335,648 in fees and $12,594 in expenses, but they limit

                                  23   their request to the $150,000 annual cap on fees and expenses set forth in the Settlement

                                  24   Agreement.

                                  25    II.   DISCUSSION

                                  26          Plaintiffs’ motion is governed by Paragraph 63 of the Settlement Agreement, which

                                  27   provides in relevant part as follows:

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                                         Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 4 of 11




                                   1          63. Fees and expenses after Final Approval of Settlement Agreement:
                                   2          Plaintiffs may petition the Court for an award of no more than $250,000 per year in
                                              fees and expenses arising from monitoring work, inspections, negotiations, meet
                                   3          and confer processes, mediation, review of documents, and correspondence with
                                              class members, until termination of Court enforcement. . . . The $250,000 annual
                                   4          cap does not apply to (1) Plaintiffs’ motions to enforce the Settlement Agreement
                                              and Implementation Plans; and (2) Plaintiffs’ opposition to any motions filed by
                                   5          defendant(s) arising out of the Settlement Agreement and Implementation Plans.
                                              The standard for Plaintiffs’ eligibility for fees and expense arising from Plaintiffs’
                                   6          motions to the Court shall be that no fees and expenses shall be awarded unless the
                                              Court finds (1) that the motion or opposition was necessary to enforce substantial
                                   7          rights of the class under the Eighth Amendment and Fourteenth Amendments to the
                                              United States Constitution, Article I, Sections 7 and 17 of California Constitution,
                                   8          the Americans with Disabilities Act, Rehabilitation Act, or California Government
                                              Code § 11135; and, (2) that Plaintiffs attempted to resolve the matter and/or
                                   9          narrow the issues as much as possible by meeting and conferring with Defendants,
                                              taking full opportunity of recourse to the mediator before presenting the issues to
                                  10          the Court. Defendants shall be eligible for an award of fees and costs from
                                              plaintiffs’ private counsel, and Plaintiffs shall receive none, in the event that the
                                  11          Court finds that Plaintiffs’ motion was frivolous, unreasonable or groundless, or
                                              that Plaintiffs continued to litigate it after it clearly became so. Furthermore,
                                  12          Plaintiffs agree that they may not seek more than $150,000 each year in fees and
Northern District of California
 United States District Court




                                              expenses on motions to enforce the Settlement Agreement.
                                  13

                                  14   Settlement Agreement ¶ 63 (emphasis added).

                                  15          To summarize, the Settlement Agreement provides that the Court may award Plaintiffs up

                                  16   to $150,000 a year in attorneys’ fees and expenses incurred in litigating a motion to enforce the

                                  17   Settlement Agreement if: (a) the motion was necessary to enforce substantial rights of the class

                                  18   under the Eighth and Fourteenth Amendments or other enumerated laws; (b) Plaintiffs attempted

                                  19   to resolve the issues through meet-and-confer and mediation prior to bringing an enforcement

                                  20   motion; and (c) the motion was not frivolous, unreasonable, or groundless.

                                  21          CFMG argues that these standards are not met with respect to the portions of the motion

                                  22   seeking enforcement of CFMG’s obligations relating to staffing and telepsychiatry. The County

                                  23   argues that these standards are not met with respect to the portions of the motion seeking access to

                                  24   patient’s Natividad medical records.

                                  25          A.      CFMG’s Staffing Obligations and Telepsychiatry Standards

                                  26          The Court has no difficulty finding that the requisite standards are met with respect to the

                                  27   portions of the motion to enforce directed to CFMG’s obligations. CFMG’s arguments to the

                                  28   contrary are unpersuasive.
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                                         Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 5 of 11




                                   1                   1.      The Motion was Necessary to Enforce Substantial Rights of the Class

                                   2           CFMG’s obligations related to psychiatric staffing and appropriate telepsychiatry standards

                                   3   go to the heart of Plaintiffs’ federal constitutional rights as litigated and settled in this action.

                                   4   CFMG does not argue otherwise. Instead, CFMG argues that Plaintiffs’ motion to enforce was not

                                   5   necessary to enforce those rights and that, in fact, Plaintiffs did not prevail on or accomplish

                                   6   anything through their motion.

                                   7           With respect to its staffing obligations, CFMG concedes that it was “out of compliance

                                   8   with the Implementation Plan requirement regarding providing 40 hours of onsite psychiatry when

                                   9   Plaintiffs’ counsel filed their Motion to Enforce.” CFMG’s Opp. at 7, ECF 643. CFMG

                                  10   nonetheless argues that Plaintiff’s motion to enforce the 40-hour requirement was unnecessary

                                  11   because “Plaintiffs’ counsel knew CFMG had been diligently attempting to hire an onsite

                                  12   psychiatrist.” Id. CFMG does not offer any evidence that Plaintiffs’ counsel knew of, and
Northern District of California
 United States District Court




                                  13   reasonably could have relied on, CFMG’s efforts to hire a psychiatrist to work onsite forty hours

                                  14   per week. To the contrary, based on evidence submitted by Plaintiffs, it appears that during the

                                  15   months prior to the filing of Plaintiffs’ enforcement motion, CFMG was advocating for a policy

                                  16   that would permit telepsychiatry to be used as the primary mode of providing psychiatric services

                                  17   at the Jail. Swearingen Reply Decl. ¶ 2, ECF 645-1. Only after Plaintiffs filed their enforcement

                                  18   motion did CFMG hire Dr. Francisco to start work in September 2017, more than three months

                                  19   into the 2017-2018 monitoring year.

                                  20           At the hearing on the enforcement motion, CFMG’s counsel still appeared to be suggesting

                                  21   that telepsychiatry could take the place of in-person treatment in most respects and that failure to

                                  22   provide an onsite doctor for forty hours per week could be excused if telepsychiatry were

                                  23   available. See Hrg. Tr. 28:10 – 35:4, ECF 618. Plaintiffs requested clarification, which the Court

                                  24   provided in its order, that “CFMG must provide an on-site psychiatrist for forty hours per week,

                                  25   each and every week.” Order Granting in Part and Denying in Part Plaintiffs’ Motion to Enforce

                                  26   Settlement Agreement at 3, ECF 619. Because CFMG had brought itself into compliance with

                                  27   that requirement prior to the hearing on Plaintiffs’ motion, however, the Court ruled that “the

                                  28   portion of Plaintiffs’ motion seeking to enforce CFMG’s staffing obligations is DENIED AS
                                                                                            5
                                         Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 6 of 11




                                   1   MOOT.” Id.

                                   2          With respect to telepsychiatry, CFMG argues that Plaintiff was unsuccessful in persuading

                                   3   the Court to grant its proposed order imposing twelve separate standards. CFMG concedes that

                                   4   “[d]uring the hearing on Plaintiffs’ Motion to Enforce, CFMG stipulated to some of the Telepsych

                                   5   standards requested by Plaintiffs’ counsel.” CFMG’s Opp. at 7, ECF 643. However, CFMG

                                   6   argues that it already had agreed to those provisions before Plaintiffs filed the enforcement motion

                                   7   and that the motion therefore was unnecessary. CFMG does not offer any evidence showing that

                                   8   it previously had agreed to all of the provisions to which it stipulated at the hearing. At the start of

                                   9   the hearing, the Court commented on CFMG’s proposed telepsychiatry policy, stating that “I don’t

                                  10   think it complies in any way with the Settlement Agreement.” Hrg. Tr. 5:4-6, ECF 618. The

                                  11   Court then stated that neither it nor Plaintiffs would be rewriting the policy and that the focus of

                                  12   the hearing would be on finding solutions. Hrg. Tr. 5:6-9. After a lengthy discussion with all
Northern District of California
 United States District Court




                                  13   counsel about telepsychiatry and other issues raised in the enforcement motion, the Court

                                  14   expressed the hope that counsel for Plaintiffs and counsel for CFMG could make progress if they

                                  15   discussed the issues, and broke for lunch. Hrg. Tr. 55:4-56:7. Upon return from the lunch break,

                                  16   counsel for Plaintiffs and counsel for CFMG announced that they had discussed the matter over

                                  17   lunch and that of the twelve standards requested by Plaintiffs, CFMG had agreed to six, including

                                  18   “Number 6, Number 7, 9, 10, 11, 12.” Hrg. Tr. 57:3-16. The Court characterized that agreement

                                  19   as “substantial.” Hrg. Tr. 57:7.

                                  20          With respect to the remaining six standards requested by Plaintiffs, the Court found that

                                  21   Number 4 did not require an express order from the Court because the relief sought is mandated

                                  22   by the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., and Number 8 was subsumed

                                  23   Numbers 6 and 7. Order Granting in Part and Denying in Part Plaintiffs’ Motion to Enforce

                                  24   Settlement Agreement at 5, ECF 619. The parties agreed to work out Number 5. Id. The Court

                                  25   referred the remaining three standards, Numbers 1, 2, and 3, to Judge Cousins for further

                                  26   proceedings, and denied as moot the remaining portions of the motion directed to telepsychiatry.

                                  27   Id. Prior to the hearing date set for Judge Cousins, the parties reached agreement on telepsychiatry

                                  28   standards. The parties ultimately submitted two stipulations and proposed orders, which were
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                                         Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 7 of 11




                                   1   approved by the Court, resolving the remaining issues related to telepsychiatry and establishing

                                   2   telepsychiatry standards. See Stipulation and Order Regarding Telepsychiatry, ECF 622; Second

                                   3   Stipulation and Order Regarding Telepsychiatry Issues, ECF 633.

                                   4          On this record, the Court finds that Plaintiffs’ motion to enforce was necessary to enforce

                                   5   substantial class rights. Prior to the filing of the motion, CFMG was not in compliance with its

                                   6   staffing obligations or its obligation to implement appropriate telepsychiatry standards. It is

                                   7   reasonable to infer that the motion prompted CFMG to hire expeditiously an onsite psychiatrist,

                                   8   and it certainly resulted in the Court’s clarification of CFMG’s obligation to maintain and onsite

                                   9   psychiatrist for forty hours a week, each and every week. Moreover, through litigating the motion,

                                  10   the parties reached agreement on telepsychiatry standards. CFMG argues that the standards it

                                  11   ultimately agreed to were the same standards it always had advocated. That position is not borne

                                  12   out by the record, which reflects that it was only after substantial discussion with the Court and
Northern District of California
 United States District Court




                                  13   with Plaintiffs’ counsel during the hearing on the motion that CFMG agreed to six of Plaintiffs’

                                  14   proposed standards. Moreover, to the extent that Plaintiffs did not obtain everything they

                                  15   requested in the way of telepsychiatry standards, Plaintiffs did obtain substantial results which

                                  16   allowed for implementation of standards which both Plaintiffs and the Court found to be

                                  17   acceptable. Under these circumstances, the Court finds that Plaintiffs have satisfied the first

                                  18   requirement for a recovery of fees and expenses under Paragraph 63 of the Settlement Agreement.

                                  19   This finding is not undermined by the fact that CFMG brought itself into compliance with some

                                  20   aspects of the Settlement Agreement prior to the hearing, and that the parties ultimately stipulated

                                  21   to resolution. See Balla v. Idaho, 677 F.3d 910, 921 (9th Cir. 2012) (upholding district court’s

                                  22   award of attorneys’ fees and expenses under Prison Litigation Reform Act where inmate-

                                  23   plaintiffs’ motion to enforce injunction re prison conditions was catalyst for state’s compliance).

                                  24                  2.      Plaintiffs Attempted to Resolve the Issues Before Filing the Motion

                                  25          Plaintiffs present the declaration of their counsel, Van Swearingen, who states that before

                                  26   filing the enforcement motion Plaintiffs attempted to reach resolution through meet and confer

                                  27   efforts, and through presentation of the issues to Judge Cousins. Swearingen Decl. ¶ 5, ECF 640-

                                  28   1. CFMG does not dispute Mr. Swearingen’s statement.
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                                         Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 8 of 11




                                   1                  3.      The Motion to Enforce was not Frivolous, Unreasonable, or Groundless

                                   2          For the reasons discussed in part II.A.1 above, Plaintiffs’ motion to enforce was not

                                   3   frivolous, unreasonable, or groundless. The motion was the catalyst for, or otherwise resulted in,

                                   4   CFMG’s compliance with its obligations under the Settlement Agreement.

                                   5          B.      Access to Inmates’ Medical Records at Natividad

                                   6          Turning to Plaintiffs’ motion for fees and expenses related to the portion of their

                                   7   enforcement motion seeking access to inmates’ medical records, the Court agrees with the County

                                   8   that the motion for access to inmates’ records was not a motion for “enforcement” of the

                                   9   Settlement Agreement as contemplated in Paragraph 63. As set forth above, the Settlement

                                  10   Agreement authorizes Plaintiffs to seek up to “$250,000 per year in fees and expenses arising from

                                  11   monitoring work, inspections, negotiations, meet and confer processes, mediation, review of

                                  12   documents, and correspondence with class members,” and up to “$150,000 each year in fees and
Northern District of California
 United States District Court




                                  13   expenses on motions to enforce the Settlement Agreement.” Settlement Agreement ¶ 63. The

                                  14   portions of the Settlement Agreement addressing access to inmate’ medical records are those

                                  15   relating to designated monitors’ access to facilities and records. See, e.g., Settlement Agreement

                                  16   ¶¶ 39-41.

                                  17          The Settlement Agreement expressly provides that monitors shall have “reasonable access”

                                  18   to records, including mental health records, “consistent with Defendants’ obligations under

                                  19   Federal and State law, as those obligations have been modified by Court order.” Settlement

                                  20   Agreement ¶ 40.c. As is reflected in Defendant County of Monterey’s opposition to Plaintiffs’

                                  21   enforcement motion, the County did not dispute Plaintiffs’ right to inmate records, only the

                                  22   appropriate mechanism for producing the records. See County’s Opp. to Motion to Enforce at 3,

                                  23   ECF 605. The County’s position was consistent with its view of the state laws protecting the

                                  24   privacy interests of the Plaintiff class. See id. After evaluating applicable laws, the Court

                                  25   determined that a balancing of the interests at stake favored production, but that it was not

                                  26   appropriate “to issue a blanket order directing Natividad to produce any and all records requested

                                  27   by Class Counsel or the monitors.” Order Granting in Part and Denying in Part Plaintiffs’ Motion

                                  28   to Enforce Settlement Agreement at 7, ECF 619. The Court implemented a streamlined process
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                                         Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 9 of 11




                                   1   under which Plaintiffs may submit particularized requests for access to medical records by means

                                   2   of stipulation or administrative motion. See id. at 7-8. In the Court’s view, these issues properly

                                   3   related to “monitoring” Defendants’ compliance with the Settlement Agreement rather than

                                   4   “enforcement” of that compliance. As a result, the Court concludes that fees and expenses for

                                   5   litigating access to inmates’ medical records are not recoverable as fees and expenses incurred in

                                   6   seeking to “enforce” the Settlement Agreement.

                                   7          C.      An Award of $150,000 in Fees and Expenses is Appropriate

                                   8          Plaintiffs have established that they are entitled to recover fees and expenses for those

                                   9   portions of the motion to enforce directed to CFMG’s obligations. The Court next must determine

                                  10   whether an award in the requested amount of $150,000 is appropriate.

                                  11          Plaintiffs have provided documentation showing that they expended more than 640 hours

                                  12   litigating the motion to enforce judgment, amounting to $335,648 at counsel’s billing rates.
Northern District of California
 United States District Court




                                  13   Swearingen Decl. ¶¶ 22-27 & Exh. H, ECF 640-1. Defendants do not contest either the number of

                                  14   hours worked or the rates charged. The Court finds no reason to adjust the lodestar of $335,648.

                                  15   See Kerr v. Screen Extras Guild, Inc., 526 F.2d 67, 70 (9th Cir. 1975) (enumerating the factors

                                  16   that may be considered in adjusting the lodestar amount). Plaintiffs incurred more than $12,594 in

                                  17   expenses related to the motion to enforce. Swearingen Decl. ¶ 27. Defendants do not contest

                                  18   those expenses. The Court thus finds that Plaintiffs reasonably incurred a total of $348,242 in fees

                                  19   and expenses in connection with their motion to enforce.

                                  20          Approximately 90% of Plaintiffs’ work on the motion to enforce related to CFMG’s

                                  21   obligations. Swearingen Decl. Exh. E, ECF 640-1. Records demonstrate that 64.2 hours were

                                  22   devoted to the Natividad records access issue at a fee of $35,794.50. Thus, even excluding fees

                                  23   and expenses related to the County’s production of inmates’ medical records, Plaintiffs reasonably

                                  24   incurred more than $313,000 in seeking to enforce CFMG’s compliance with the Settlement

                                  25   Agreement. Plaintiffs’ showing is more than adequate to warrant an award of $150,000 in fees

                                  26   and expenses, which is the maximum permitted under the Settlement Agreement but less than half

                                  27   of counsel’s lodestar. Plaintiffs’ motion for an award of attorneys’ fees and expenses in the

                                  28   amount of $150,000 for the period May 27, 2017 through May 26, 2018 is GRANTED.
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                                            Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 10 of 11




                                   1            Having concluded that Plaintiffs are entitled to $150,000 in fees and expenses under the

                                   2   Settlement Agreement, the Court need not reach Plaintiffs’ alternative arguments that they are

                                   3   entitled to attorneys’ fees under various federal and state statutes.

                                   4            D.     Interest

                                   5            Plaintiffs request interest on the award of attorneys’ fees and expenses, and they assert that

                                   6   interest should run from July 2, 2018, the date Plaintiffs asked Defendants to stipulate to $150,000

                                   7   in enforcement fees for period May 27, 2017 through May 26, 2018. See Swearingen Decl. ¶ 9,

                                   8   ECF 640-1. The Settlement Agreement itself does not provide for interest on fees and expenses

                                   9   awarded under Paragraph 63. To the contrary, the plain language of the Settlement Agreement

                                  10   appears to contemplate a total award of $150,000 in connection with a motion to enforce.

                                  11            Plaintiffs cite Friend v. Kolodzieczak, 72 F.3d 1386, 1391-92 (9th Cir. 1995), in support of

                                  12   their request for interest. In Friend, the Ninth Circuit held that when plaintiffs are awarded
Northern District of California
 United States District Court




                                  13   attorneys’ fees under 42 U.S.C. § 1988, they are entitled to post-judgment interest running from

                                  14   “the date that entitlement to fees is secured, rather than from the date that the exact quantity of

                                  15   fees is set.” Id. 1392. In Friend, the plaintiffs had been awarded attorneys’ fees in an order issued

                                  16   in June 1990, but the amount of fees was set in a later order issued in July 1990. Id. The Ninth

                                  17   Circuit held that the plaintiffs were entitled to post-judgment interest running from the earlier June

                                  18   order. Id. Friend is distinguishable from the present case, in that Plaintiffs here are awarded fees

                                  19   and expenses under a provision of the Settlement Agreement and not under § 1988. Moreover,

                                  20   Plaintiffs’ entitlement to the $150,000 in fees and expenses was not “secured” until the issuance of

                                  21   the present order. Plaintiffs have cited no legal authority supporting an award of interest on the

                                  22   contractual fees and expenses awarded in this case.

                                  23            Accordingly, Plaintiffs’ request for post-judgment interest is DENIED.

                                  24   //

                                  25   //

                                  26   //

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                                        Case 5:13-cv-02354-BLF Document 653 Filed 05/01/19 Page 11 of 11




                                   1    III.   ORDER

                                   2           (1)   Plaintiffs’ motion for an award of attorneys’ fees and expenses in the amount of

                                   3                 $150,000 for the period May 27, 2017 through May 26, 2018 is GRANTED; and

                                   4           (2)   Plaintiffs’ request for post-judgment interest is DENIED.

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                                   7   Dated: May 1, 2019

                                   8                                                 ______________________________________
                                                                                     BETH LABSON FREEMAN
                                   9                                                 United States District Judge
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Northern District of California
 United States District Court




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